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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


                                             MDL Docket No. 2800
In re: Equifax Inc. Customer                 No. 1:17-md-2800-TWT
Data Security Breach Litigation
                                             CONSUMER ACTIONS

                                             Chief Judge Thomas W. Thrash, Jr.



      CONSUMER PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
                MOTION FOR APPEAL BONDS

      This memorandum supports Consumer Plaintiffs’ motion for an order

requiring Objectors/Appellants Theodore H. Frank and David R. Watkins, Mikell

West, George W. Cochran, Christopher Andrews, and Shiyang Huang

(collectively, “Objectors”) to post appeal bonds.

      Plaintiffs are harmed and prejudiced by the appeals lodged by the Objectors.

Under the terms of the class settlement, no part of the $380.5 million in cash

benefits, credit monitoring, or the other significant non-monetary relief will be

provided to class members until the appeals are resolved. Pursuant to Rules 7 and 8

of the Federal Rules of Appellate Procedure, Plaintiffs therefore move for an order

requiring each Objector to post an appeal bond in the amount of $20,000, as

security for the costs of appeal. As demonstrated below, under similar


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circumstances, other courts have required objectors to post sizeable bonds. The

modest appeal bonds sought here are factually and legally justified to ensure

payment of the taxable costs Plaintiffs will incur.

                          FACTUAL BACKGROUND

      On July 22, 2019, Plaintiffs filed their motion to direct notice of the

settlement of this action to the settlement class, informing the Court that the

parties had entered into a settlement providing for a non-reversionary cash fund of

$380.5 million to pay benefits to the class, including cash compensation, credit

monitoring, and help with identity restoration. In addition, Equifax may pay up to

another $125 million for certain out-of-pocket losses. Equifax must also spend a

minimum of $1 billion for data security and related technology over five years and

comply with comprehensive data security requirements. (Doc. 739). This Court

granted Plaintiffs’ motion the same day, and, in its order, set forth the

requirements for any objections to final approval of the settlement. (Doc. 742). Of

the approximately 147 million class members, only 388 directly objected to the

settlement 1 which the Court recognized was a “miniscule number . . . in

comparison to the class size.” (Doc. 1029 at 26).

1
  As the Court recognized, many of the objections were in the response to
“incomplete or misleading media coverage, or at the behest of serial class action
objectors, and often demonstrat[ed] a flawed understanding of the settlement
terms.” (Doc. 1029 at 25-26).

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      On December 19, 2019, the Court heard oral argument regarding the merits

of the settlement and Plaintiffs’ motion for fees, expenses, and service awards to

the class representatives. Thereafter, in an order dated January 13, 2020 (and

amended March 17, 2020), the Court finally approved the settlement and granted

Plaintiffs’ motion for fees, expenses, and service awards. (Docs. 956, 1029). In its

order, the Court determined the settlement is fair, reasonable, and adequate and

complies with Federal Rule of Civil Procedure 23. The Court also found the

settlement to be the largest data breach settlement in history, providing class

members “an unprecedented package of benefits, including but not limited to cash

compensation for out-of-pocket losses fairly traceable to the breach of up to

$20,000 per class member, reimbursement for time spent as a result of the breach,

and 25% of the amount paid to Equifax by class members for identity restoration

services in the year prior to the breach; ten years of high quality credit monitoring

services having a retail value of $1,920 per class member; and seven years of

identity restoration services without the need to file a claim,” and “a consent order

requiring [Equifax] to comply with comprehensive cybersecurity standards, spend

at least $1 billion on data security and related technology, and have its compliance

audited by independent experts.” (Id. at 90).

      The Court also thoroughly addressed the substance of each Objector’s


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objections, and found that they each lacked merit, and in some instances, were

made in bad faith. (Id. at 37-82, 93-103;2 see also Doc. 951 (denying Objector

Huang’s motion to strike the expert declaration of Professor Klonoff)). Objectors

filed their respective Notices of Appeal on January 17, 2020 (Doc. 965 (Huang));

February 10, 2020 (Doc. 977 (Frank and Watkins); Doc. 985 (Andrews); Doc. 989


2
  See id. at 54 & n.23, 56-58 (addressing objection by Objector Huang, concluding
it was “particularly weak,” id. at 58); 54 & n.24, 59-65 & n.28, 30 (addressing
objections by Objectors Frank and Watkins, noting they had made the same
objection in Target which was rejected there); 55 & n.26 (addressing challenge to
attorneys’ fees by Objectors Frank and Watkins, finding their arguments
contradictory in claiming separate counsel should be appointed to represent
residents of each jurisdiction while also criticizing class counsel’s hours as inflated
because too many lawyers worked on the case); 93-94 (overruling objection to fees
by Objector John Davis as “frivolous”) 94-98 (overruling objections to attorneys’
fees by Objectors West and Frank and Watkins regarding the percentage of the
fund awarded, stating these objectors “unreasonably and erroneously” discounted
the risk class counsel faced, id. at 94); 99-100 (overruling objection by Objectors
Frank and Watkins regarding how the size of the fund was measured, noting
“[s]imilar arguments have been rejected before,” id. at 99); 100-103 (overruling
objection of Objectors West and Frank and Watkins regarding valuation of credit
monitoring and injunctive components of settlement, noting that a similar objection
by Frank in a different case had been rejected, id. at 102); 110-114 (noting
Objectors Cochran, Andrews, Frank, Davis, and attorney for Objector West are
“serial” objectors); 108 (recognizing that Objector Davis’s objection to
compensating class representatives for their service was based on an argument that
has been “rejected out of hand” by other courts because it relied on inapposite
cases); 114 (finding Objector Frank “disseminated false and misleading
information about the settlement in an effort to encourage others to object and
direct class members to object using the ‘chat-bot’ created by Class Action Inc.,
notwithstanding that it contained false and misleading information about the
settlement”); 121 (denying motion by Objector Andrews stating it was an objection
improperly couched as a motion).

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(Cochran)); and February 11, 2020 (Doc. 982 (West)). 3 Under Federal Rule of

Appellate Procedure 4(a)(4)(B)(i), these notices of appeal took effect as of the

Court’s decisions on certain post-judgment motions on March 17, 2020. (Docs.

1026, 1027).

      Under the terms of the settlement agreement, no money can be paid out or

relief provided under the settlement until final resolution of any appeals, which in

the ordinary course could take a year or more. The existence of this delay provides

an opportunity for Objectors to continue to act against the settlement class’s

interests, spread further misinformation about the settlement, or attempt to

leverage the appeal into a personal money-grab, allowing them to attempt to

extract a payment in exchange for dismissal of their appeals so that the settlement

funds can be distributed immediately. The delay caused by these appeals will

result in substantial costs to the class, costs that Objectors/Appellants should be

required to secure with a bond.

                                  ARGUMENT

      Courts routinely require objectors who appeal final approval of a class

action settlement to post a bond to ensure payment of costs on appeal and to

3
  Objector John Davis has not yet appealed. On February 10, 2020, he filed a
motion to alter or amend the judgment (Doc. 978), which the Court denied on
March 17, 2020 (Doc. 1026). Upon his anticipated appeal, Plaintiffs intend to
request that Davis post an appeal bond.

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protect against the additional costs the class will incur caused by the delay of

appeal. See, e.g., In re Checking Account Overdraft Litig., 2012 WL 456691, at *3

(S.D. Fla. Feb. 14, 2012); In re Cardizem CD Antitrust Litig., 391 F. 3d 812, 816-

17 (6th Cir. 2004); In re Polyurethane Foam Antitrust Litig., 178 F. Supp. 3d 635,

642 (N.D. Ohio 2016); In re Initial Pub. Offering Sec. Litig., 721 F. Supp. 2d 210,

218 (S.D.N.Y. 2010); Aboltin v. Jeunesse LLC, 2019 WL 1092789, at *4 (M.D.

Fla. Feb. 15, 2019). Requiring objectors to post bonds also serves to discourage

frivolous appeals. See Pedraza v. United Guar. Corp., 313 F.3d 1323, 1333 (11th

Cir. 2002) (“an appellant is less likely to bring a frivolous appeal if he is required

to post a sizeable bond”); In re Polyurethane, 178 F. Supp. 3d at 638.

      Such bonds are authorized by Federal Rule of Appellate Procedure 7, which

provides that, “[i]n a civil case, the district court may require an appellant to file a

bond or provide other security in any form and amount necessary to ensure

payment of costs on appeal,” and Federal Rule of Appellate Procedure 8(a)(1)(B),

which empowers a district court to approve a supersedeas bond, which is justified

where the objector’s appeal effectively stays consummation of the settlement and

distribution of its benefits. See, e.g., In re Checking, 2012 WL 456691, at *2;

Aboltin, 2019 WL 1092789, at *3; Allapattah Servs., Inc. v. Exxon Corp., 2006

WL 1132371, at *18 (S.D. Fla. Apr. 7, 2006); In re Uponor, Inc. F1807 Plumbing


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Fittings Prod. Liab. Litig., 2012 WL 3984542, at *2 (D. Minn. Sept. 11, 2012).

Further, courts have inherent authority to require an objector to post a bond as a

sanction for willful disobedience of a court order or when the objector acts in bad

faith or vexatiously. Pedraza, 313 F. 3d at 1335-36.

      The amount of the bond rests in the Court’s discretion. Young v. New

Process Steel, LP, 419 F.3d 1201, 1207-08 (11th Cir. 2005). Among the costs a

court can consider in setting the amount of the bond are costs taxable under 28

U.S.C. § 1920 and Federal Rule of Appellate Procedure 39 and the increased

administrative costs and loss of interest resulting from delay in consummating the

settlement. See, e.g., In re Polyurethane, 178 F. Supp. 3d at 642-45; In re

Checking, 2012 WL 456691, at *2; In re Wal-Mart Wage and Hour Employ. Prac.

Litig., 2010 WL 786513, at *2 (D. Nev. Mar. 8, 2010).

      Thus, Plaintiffs’ motion presents two questions. First, is a bond appropriate

under the circumstances of this case? And, second, if so, how much should the

bond be? As explained below, requiring Objectors to each post a bond is

appropriate and the bond should be in the modest amount of $20,000 to secure the

taxable costs Plaintiffs will incur on appeal.

I.    OBJECTORS SHOULD BE REQUIRED TO POST A BOND.

      When determining if an appeal bond is appropriate, courts consider several



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factors, including: (1) the appellant’s financial ability to post a bond; (2) the merits

of the appeal; (3) whether the appellant has shown any bad faith or vexatious

conduct; and (4) the risk that the appellant will not pay the costs if the appeal is

unsuccessful. See, e.g., In re Initial Pub. Offering Sec. Litig., 721 F. Supp. 2d at

212; In re Checking, 2012 WL 456691, at *2. Each of these factors supports

requiring each Objector to post a bond in this case.

      A.     Each Objector Is Presumed to Be Able to Afford a Bond.

      Courts presume that an objector is financially able to post an appeal bond

unless he or she demonstrates otherwise. In re Initial Pub. Offering Sec. Litig., 721

F. Supp. 2d at 213; In re Polyurethane, 178 F. Supp. 3d at 641-42; In re Cardizem,

391 F.3d at 818. Accordingly, Plaintiffs need not prove that each Objector can

afford to post the bond Plaintiffs have requested; the burden is on each Objector to

come forward with sufficient financial information to prove that a bond is beyond

their means. Regardless, Objector West, for example, is represented by counsel,

who presumably have agreed to advance litigation expenses on his behalf. Most of

the other Objectors have already been identified by this Court as professional,

serial objectors (Doc. 1029 at 110-114), who have extorted money from counsel in

prior class actions to withdraw their objections, and thus should not be heard now

to claim they cannot afford to put up a bond to pursue their appeals. For example,



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Objector Andrews has objected in about ten class actions and “has extorted

additional fees from counsel in other cases.” (Id. at 111-112). His request to

proceed in forma pauperis should be denied for the reasons set forth in Plaintiffs’

opposition to that motion, which is incorporated by reference herein. (Doc. 998).

In addition, Objector Huang has shown his financial means by paying the filing

fees to appeal. Accordingly, this factor supports requiring each Objector to post a

bond.

        B.     Each Objector’s Appeal Lacks Merit.

        Rule 7 authorizes the Court to forecast the outcome of the appeal in deciding

whether to require a bond. See, e.g., Adsani v. Miller, 139 F.3d 67, 79 (2d Cir.

1998); Sckolnick v. Harlow, 820 F.2d 13, 15 (1st Cir. 1987); In re Checking, 2012

WL 456691, at *2; In re NASDAQ Market-Makers Antitrust Litig., 187 F.R.D.

124, 128-29 (S.D.N.Y. 1999). The less likely it is an appeal will succeed, the

stronger the case for a requiring a bond. Here, each Objector’s appeal lacks merit

and has no legitimate likelihood of success.

        The Court has already found that Objectors Frank of Frank and Watkins,

West through his attorney Christopher Bandas, Cochran, and Andrews—all of

whom the Court identified as serial objectors—“have unsuccessfully asserted

many of the same or similar objections in other class action settlements,” and “that



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there is no substantial likelihood their objections will be successful on appeal.”

(Doc. 1029 at 110-114; see also id. at 37-82, 94-103 (analyzing each objection and

determining each lacks merit)). The Court has likewise concluded that the other

Objectors’ arguments lack merit and have previously been rejected by other

courts. (See id. at 54, 56, 58 (finding Objector Huang’s objection regarding intra-

class conflicts “wholly without merit,” previously “thoroughly analyzed and

rejected in Target,” and “particularly weak given the structure of the settlement in

this case and the nature of the alleged harm to the class”)).

        C.   Objectors Have Acted in Bad Faith and Vexatiously.

        This Court has already found that Objectors Frank, West (through his

attorney Christopher Bandas), Cochran, and Andrews “are serial objectors, that

they have unsuccessfully asserted many of the same or similar objections in other

class action settlements, that their objections are not in the best interests of the

class, that there is no substantial likelihood their objections will be successful on

appeal, and that the class would be best served by final resolution of their

objections as soon as practicable so that class members can begin to benefit from

the settlement.” (Doc. 1029 at 110). The Court previously found, id. at 110-114,

that:

   • Objector George Cochran, an attorney who objects on his own behalf, “is a
     serial objector to class action settlements, with a history of attempting to

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   extract payment for the withdrawal of objections.” Syngenta, 357 F. Supp.
   3d at 1104.

• Christopher Bandas, an attorney who represents objector Mikell West, is
  recognized by federal courts across the country as a “serial objector” who
  “routinely represents objectors purporting to challenge class action
  settlements, and does not do so to effectuate changes to settlements, but
  does so for his own personal financial gain; he has been excoriated by
  Courts for this conduct.” CRT, 281 F.R.D. at 533; see also, e.g., Clark v.
  Gannett Co., 122 N.E. 3d 376, 380 (Ill. Ct. App. 2018) (Bandas has
  “earn[ed] condemnation for [his] antics from courts around the country.
  Yet, [his] obstructionism continues.”). Moreover, Bandas and his law firm
  are subject to a permanent injunction issued by a federal judge governing
  their ability to object in class actions. Edelson P.C. v. The Bandas Law
  Firm, 2019 WL 272812 (N.D. Ill. Jan. 17, 2019).

• Objector Christopher Andrews, although not an attorney, by his own
  admission at the final approval hearing has filed objections in about ten
  class actions. In Shane v. Blue Cross, No. 10-cv-14360 (E.D. Mich.), the
  court found that “many of [Mr. Andrews’] submissions are not warranted
  by the law and facts of the case, were not filed in good faith and were filed
  to harass Class Counsel.” App. 1, ¶ 65 & Ex. 7. That court also noted that
  Mr. Andrews “is known to be a ‘professional objector who has extorted
  additional fees from counsel in other cases[.]’” Id. Additionally, class
  counsel have submitted an email from Mr. Andrews that calls into question
  his motivation for objecting in this case. [Doc. 900-1, Ex. 8].

   ...

• Theodore Frank, a lawyer and director of the Hamilton Lincoln Law
  Institute, is in the business of objecting to class action settlements and has
  previously and unsuccessfully made some of the same or similar objections
  that he has made here. See Target, 2017 WL 2178306, at *6 (rejecting
  objection that an allegedly fundamental intra-class conflict existed in a data
  breach case because class members could assert claims under various state
  statutes); Poertner, 618 Fed. Appx. at 628-29 (rejecting objection that the
  proposed fee was unfair, finding Frank had improperly limited the monetary


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      benefits to the class and excluded the substantial non-monetary benefits of
      the settlement). The Court also finds that Frank disseminated false and
      misleading information about this settlement in an effort to encourage
      others to object in this case and directed class members to object using the
      “chat-bot” created by Class Action Inc., notwithstanding that it contained
      false and misleading information about the settlement. These actions are
      improper and further support a finding that Frank’s objection is not
      motivated to serve the interests of the class. See Manual § 21.33
      (“Objectors to a class settlement or their attorneys may not communicate
      misleading or inaccurate statements to class members about the terms of a
      settlement to induce them to file objections or to opt out.”).


      Objector Andrews—who has submitted to the Court a flurry of vexatious

filings—has a sordid litigation history as further described in Plaintiffs’ opposition

to his motion to appeal in forma pauperis (Doc. 998) and Plaintiffs’ opposition to

his “Motion to Take Judicial Notice of Misconduct and a Rule 11 Violation that

Fatally Poisoned this Approval” (Doc. 1031). Those filings are incorporated by

reference here. In short, Andrews has been cited for repeatedly filing frivolous

objections and related motions; sanctioned for engaging in vexatious and bad faith

litigation; arrested; and held in contempt for violating a court order. One of his

litigation tactics is to make outrageous and utterly unsubstantiated charges of

fraud, collusion, and unethical conduct regarding class counsel and the courts

evaluating the fairness of class action settlements to which he has objected. See,

e.g., In re Polyurethane Foam Antitrust Litig., 178 F. Supp. 3d 635, 639-40 (N.D.

Ohio 2016); In re Polyurethane Foam Antitrust Litig., 2017 WL 8791098 (6th Cir.

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Dec. 14, 2017).

      The problem posed by professional objectors is well known. See, e.g.,

Newberg on Class Actions § 15:37. The Federal Judicial Center has advised courts

to “[w]atch out . . . for canned objections from professional objectors who seek

out class actions to extract a fee by lodging generic, unhelpful protests.” Federal

Judicial Center, Managing Class Action Litigation: A Pocket Guide for Judges, at

15 (2d ed. 2009). And federal courts overseeing class actions have described the

conduct of professional objectors in stark terms. For example, one judge noted:

      Class actions . . . attract those in the legal profession who subsist
      primarily off of the skill and labor of, to say nothing of the risk borne
      by, more capable attorneys. These are the opportunistic objectors.
      Although they contribute nothing to the class, they object to the
      settlement, thereby obstructing payment to lead counsel or the class in
      the hope that lead plaintiff will pay them to go away. Unfortunately,
      the class-action kingdom has seen a Malthusian explosion of these
      opportunistic objectors . . . .

In re Cardinal Health, Inc. Sec. Litig., 550 F. Supp. 2d 751, 754 (S.D. Ohio 2008).

      Many other courts have used similar language to describe the modus

operandi of serial objectors. See, e.g., Snell v. Allianz Life Ins. Co. of N. Am., 2000

WL 1336640, at *9 (D. Minn. Sept. 8, 2000) (professional objectors “are a pariah

to the functionality of class action lawsuits, as they maraud proposed settlements –

not to assess their merits on some principled basis – but in order to extort the

parties, and particularly the settling defendants, into ransoming a settlement that

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could otherwise be undermined by a time-consuming appeals process”); O’Keefe

v. Mercedes-Benz USA, LLC, 214 F.R.D. 266, 295 n.26 (E.D. Pa. 2003)

(“professional objectors . . . seek out class actions to simply extract a fee by

lodging generic, unhelpful protests”); Barnes v. Fleetwood Fin. Corp., 2006 WL

6916834, at *1 (D. Mass. Aug. 22, 2006) (“Repeat objectors to class action

settlements can make a living simply by filing frivolous appeals and thereby

slowing down the execution of settlements. The larger the settlement, the more

cost-effective it is to pay the objectors rather than suffer the delay of waiting for

an appeal to be resolved (even an expedited appeal).”).

      One means of dealing with the harm caused by professional objectors is to

require them to post an appeal bond. Courts routinely find that appeals by

professional objectors are vexatious and in bad faith and impose a bond to protect

the class and class counsel. See, e.g., In re Initial Public Offering Securities Litig.,

728 F. Supp. 2d at 294; In re General Elec. Co. Sec. Litig., 998 F. Supp. 2d 145,

155-56 (S.D.N.Y. 2014); Dennings v. Clearwire Corp., 928 F. Supp. 2d 1270,

1272 (W.D. Wash. 2013). This Court should do that here, requiring Objectors

Frank and Watkins, West, Cochran, and Andrews to bear at least some of the costs

that their conduct imposes on the rest of the class by posting a bond.

      Likewise, while the Court did not identify Objector Huang as a serial


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objector, his serial filings in this case work a detriment to the efficient

administration of justice and can be deemed vexatious in their own right. (Docs.

813, 852, 872, 893, 918, 919, 948, 949, 950). He also has previously taken

positions found to be meritless in other cases. See Larson v. Allina Health Sys., ,

2020 WL 583082, at *1-2 (D. Minn. Feb. 6, 2020) (denying “non-party, non-class

member Shiyang Huang[’s] Motion for Leave to File Amicus Curiae in Support of

Neither Party,” finding arguments raised “meritless,” and concluding “Huang’s

proposed involvement [would not] be timely, useful, or otherwise helpful to the

Court”); McDonald v. Edward D. Jones & Co., L.P., 2020 WL 504865, at *1 (8th

Cir. Jan. 31, 2020) (per curiam opinion rejecting objections by Huang to class

settlement and attorneys’ fee award). Requiring Objector Huang to post a bond

would likewise disincentivize his deleterious conduct.

      D.     There is Risk that Each Objector Will Not Pay Costs Absent a
             Bond.

      There is a substantial risk that the costs of appeal will not be paid unless a

bond is required. Each Objector resides outside of this Court’s physical

jurisdiction.4 If the costs of appeal are not voluntarily paid, Plaintiffs will be forced


4
  See Doc. 965 at 2 (Huang resides in Kansas); Doc. 985 at 19 (Andrews resides in
Minnesota); Doc. 989 at 2 (Cochran resides in Ohio); Doc. 876 at 2 (Frank resides
in Washington, D.C. and Watkins resides in Utah); Doc. 880 at 3 (West resides in
Texas).

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to institute a collection action in one or more other jurisdictions. Courts routinely

find a substantial risk of non-payment under such circumstances, warranting an

appeal bond. See, e.g., In re Initial Pub. Offering Sec. Litig., 728 F. Supp. 2d at 293

(“[T]he Objectors are dispersed around the country and none has offered to

guarantee payment of costs that might be assessed against them. In the event the

Objectors are unsuccessful on appeal, plaintiffs would need to institute collection

actions in numerous jurisdictions to recover their costs. As a result, there is a

significant risk of non-payment.”); see also Dennings, 928 F. Supp. 2d at 1271-72

(“Second, there is a risk of non-payment of appeal costs given that both objectors

live in Texas, and it may therefore be difficult to enforce a cost order imposed

upon them.”); In re Netflix Privacy Litig., 2013 WL 6173772, at *3 (N.D. Cal.

Nov. 25, 2013); In re Currency Conversion Fee Antitrust Litig., 2010 WL

1253741, at *2 (S.D.N.Y. Mar. 5, 2010).

       In short, the factors typically considered by courts in deciding whether to

require an appeal bond all support requiring Objectors to do so in this case.

II.    THE APPROPRIATE AMOUNT OF THE BOND.

       Courts frequently require objectors who have appealed from final approval

orders to post substantial bonds. See, e.g., In re Wal-Mart Wage and Hour

Employ. Prac. Litig., 2010 WL 786513, at *2 ($2 million); Tennille v. Western



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Union Co., 2013 WL 5716877, at *2 (D. Colo. Oct. 21, 2013) ($1,007,294); In re

Checking, 2012 WL 456691, at *3 ($616,338); Barnes, 2006 WL 6916834, at *3

($645,111); In re Broadcom Securities Litig., SAC 01-275 (C.D. Cal. Dec. 5,

2005) (cited in In re Checking, 2012 WL 456691, at *2 ($517,700)); In re

Cardizem, 391 F.3d at 814 ($174,429); In re Polyurethane, 178 F. Supp. 3d at 645

($145,463); In re Uponor, 2012 WL 3984542, at *6 ($125,000).

      Here—despite the enormous harm the Objectors are inflicting on the

settlement class by delaying any relief by many months or even years—Plaintiffs

seek only a modest bond for the costs of appeal. Taxable costs listed in 28 U.S.C.

§ 1920 and Federal Rule of Appellate Procedure 39 are customarily included in an

appeal bond. See, e.g., In re Polyurethane, 178 F. Supp. 3d at 642; Wright, Miller

& Cooper, Federal Practice & Procedure § 3953 (4th ed. 2008). These costs

include, among others, preparing and transmitting the record, obtaining necessary

transcripts, printing, and copying. Id. Courts routinely approve appeal bonds for

taxable costs of $25,000 or more without the need for delineating the specific

costs that are expected to be incurred. In re Uponor, 2012 WL 3984542, at *3; In

re Polyurethane, 178 F. Supp. 3d at 643; In re Brokerage Antitrust Litig., 2007

WL 1963063, at *2-3 (D.N.J. July 2, 2007). This is an appropriate amount for an

appeal bond considering the potential costs of a multi-party multi-issue appeal.


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See In re Brokerage, 2007 WL 1963063, at *3 (ordering $25,000 bond). Plaintiffs

therefore request that the Court order bonds of $20,000 for the costs of appeal, to

be posted by each Objector.5

                                 CONCLUSION

      For the reasons set forth above, requiring Objectors to post substantial

appeal bonds is both justified and proper. Taking all of the relevant factors into

account, Plaintiffs respectfully request that the appropriate total amount of the

bond, to be posted jointly and severally by each Objector/Appellant, is $20,000.




5
  Each objector should independently secure the full bond amount. See, e.g.,
Muransky v. Godiva Chocolatier, Inc., 2017 WL 11220677, at *2 (S.D. Fla. Jan. 9,
2017) (If “only one of the Objectors posted that bond, the Objector could still
proceed on every issue on appeal, yet the costs Plaintiffs would incur would not be
reduced by half.”); In re Initial Pub. Offering Sec. Litig., 721 F. Supp. 2d at 218
(ordering bond for which objectors were jointly and severally liable).

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Dated: March 30, 2020            Respectfully submitted,


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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this motion and memorandum of law have been

prepared in compliance with Local Rules 5.1 and 7.1.

                                            /s/ Norman E. Siegel




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                        CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was filed with this Court via its CM/ECF

service on March 30, 2020, which will send notification of such filing to all

counsel of record.

                                      /s/ Norman E. Siegel




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